_++ Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 1of47 Page ID #:27

x :
° , SUM-100
SUMMONS (8010 FARA USO DELACORTE)
(CITACION JUDICIAL) ey

NOTICE TO DEFENDANT: CONFORMED, CO
(AVISO AL DEMANDADO): eueetor Goutt of Caiifomla
JILLIAN MICHAELS, an individual; oun fh
See Additional Parties Attachment attached. AUG 2 Q 2018
YOU ARE BEING SUED BY PLAINTIFF: a umeeriCierk of Court
(LO ESTA DEMANDANDO EL DEMANDANTE): shart R. Cartes, EXeCUNS Deputy
LISA FRIEDMAN, individually and on behalf of herself and all others By: Brittny Smith, Dep
similarly situated

NOTICE! You have been sued. The court may decide against you without your being heard untess you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you te file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form If you want the court lo hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannet pay the filing fee, ask
the court clerk for a fee waiver form. if you do nol file your response on time, you may tose the case by default, and your wages, monay, and property
may be taken without further waming from the court.

There are other tegal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to cail en altorney
referral service. If you cannot affard an atterney, you may be eligible for free legal services from a nonprofit legal services pregram. You can {ocate
these nonprofit groups at the California Legal Services Web stile (www-lawhelpcalifomia.org), the Callfomia Courts Online Self-Help Center
(www. courtinfo.ca.gav/selfhelp), or by contacting your local court or county bar assecialion. NOTE: The court has a statutory Ilen for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's flen must be paid before the court will dismiss the case.

AsO Lo han demandado. Si no responde dentro de 30 dies, la corte puede decidir en su contra sin escuchar su versién. Lea la informacion a
continuacion,

Tiene 30 DIAS DE CALENDARIO después de que /e entreguen este cilacién y papeles legales pare presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefénica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formuiario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de fa corte y mas informacién en ef Centro de Ayuda de las Cortes de Califomia (www.sucorte.ca.gov), en fa
biblioteca de leyes de su condedo o en la carte que le quede mds cerca. Si no puede pagar la cuota de presentacién, pida al secretaria de la corte
que le dé un formulario de exencién de pago de cuotas. Si no presenta su respuesta 2 tiempo, puede perder el caso por Incumplimiento y la corte le
podra quitar su sueido, dinero y bienes sin més advertencia.

Hay otros requisios iegales. Es recomendable que lame a un abogedo inmediatamente. Si no conoce a un abogado, puede flamar a un servicio de
remisién a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de tucro. Puede encontrar estos grupos sin fines de lucro en al sitlo web de California Legal Services,

(www. lawhelpcalifornia.org), en ef Centro de Ayuda de las Cortes de California, (wew.sucorte.ca.gov) o poniéndose en contacto con la corte o ef
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reciamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperacién de $10,000 6 mas de valor recibida mediante un acuerdo o una concesién de arbitraje en un caso de derecho civil. Tiene que
Pagar e! gravamen de la corte antes de que fa corte pueda desechar ef caso.

The name and address of the court is: CASE NUMBER:
(El nombre y direccién de la corte es): Wimero del Cora tT y 3 41
Spring Street Courthouse

312 North Spring Street, Los Angeles, California 90012

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, Is:
(El nombre, fa direccién y ef nimero de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):

John P. Kristensen, 12540 Beatrice Street, Suite 200, Los Angeles, CA 90066; (310) 507-7924

DATE: Clerk, b . , Deputy
(Fecha) " SHERRI R. CARTER (Secretarto) ___._ brthay Suilt (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-0710).) :
{Para prueba de entrega de esta citation use ef formutario Proof of Service of Summons, (POS-070)).
Seal NOTICE TO THE PERSON SERVED: You are served

1. [-_] as an individual defendant.
2. [__] as the person sued under the fictitious name of (specify):

3, [71 on behalf of (specify):

under: L_] CCP 416.10 (corporation) [] CCP 416.60 (minor)
[__] CCP 416.20 (defunct corporation) [__] CCP 416.70 (conservatee)
[] CCP 416.40 (association or partnership) [“] CCP 416.90 (authorized person)

[_] other (specify):
4. [2] by personal delivery on (date):

= . Page 16f1
orm Adapted for Mandatory Usa MMO Cade of Civil Procedure §§ 412.20, <65
Judicial Councd of Cetera SU NS * wiv. aint oa gov

SUM-100 [Rev, Juty 1, 2009)

, Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 2o0f47 Page ID#:28

SUM-200(A)

SHORT TITLE: CASE NUMBER:
| Friedman v. Michaels, et al.

INSTRUCTIONS FOR USE

+> This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.

+> If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: “Additional Parties
Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party.):
[-] Plaintiff Defendant [_] Cross-Compiainant (__] Cross-Defendant

EM DIGITAL, LLC, a Florida Limited Liability Company, EMPOWERED MEDIA, LLC, a California
Limited Liability Company; and DOES 1-100, inclusive

Pega 10f4
Form Adopted for Mandatory Usa

Judicial Council of Callomia ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) (Rev. January 1, 2007] Attachment to Summons

) Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 3 of 47 Page ID #:29

- DO NOT FILE WITH THE COURT-

CIV-050

-UNLESS YOU ARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE § 585 -

John P. Kristensen (310) 507-7924
Kristensen Weisberg, LLP
12540 Beatrice Street, Suite 200
Los Angeles, California 90066
ATTORNEY FoR (ramet: Plaintiff Lisa Friedman
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
street anoress: 312 Spring Street
matinG appress: 312 Spring Street
crryannzecooe: Los Angeles, California 90012
arancHname: Spring Street Courthouse
PLAINTIFF: Lisa Friedman, et al.
DEFENDANT: Jillian Michaels, et al.

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address): TELEPHONE NO.: FOR COURT USE ONLY

STATEMENT OF DAMAGES CASE NUMBER:

(Personal Injury or Wrongful Death) BC717341

To (name of one defendant only): Jillian Michaels
Plaintiff (name of one plaintiff only): Lisa Friedman
seeks damages in the above-entitled action, as follows:

1. General damages AMOUNT
a. Pain, suffering, and inconvenience ...........ccscsssseseccncesssersussvessensceescessssssseesssssaueastsatessonsseaseveseesensees $
b. LJ] Emotional distress. .....sssssessssesssscsscsestnssesosssessnesuasetssentsnssesnenee $
©. J} Loss of ComsOrtiut ....scccssssesssnssesssseecsesesssessssnsssensessssssssssien $
d.C_] Loss of sociey and companionship (wrongful death actions ONLY)... ceccccscscsesecserssssssssssessesssesesee $
© OT Other (Spe nnn
fT Other (pet) tintin tiininnnnnntitninnnen
g. [7] Continued on Attachment 1.g.
2. Special damages
a. L_] Medical EXPENSES (10 Cate) 0... eesscccecereeessenseseeseensreeeeseeneoesas seececeesceaeseonentensaessocovesaeasnaneaneneas $
b. —] Future medical Expenses (Present VALUE) ......cccecscecserseresesscesenecsscecssecerterstsersesarsesstesseventenensersatseseres $
co, L] Loss of earnings (to date) .. sesecasecennessessusssnaesseessseas crepes cesses snsaessssseeersaeenseuscaneereae¢eneasesetaetess $
d. (J Loss of future earning capacity (present value) .............. seceteveseoceeenseranerencersensersuscesseressuersesers $
e.L_] Property damage ........s.ccssssssssecessecsssoncerssrvecsesesenerseceseneseesessecscssessessussussssascessacsesaesesaueseosevsoas $
f. [J Funeral expenses (wrongful death actions ONY) ...........scsccsssscscectescscecscesesccesenesceevspecesnronscssceneconsenss $
g. L—] Future contributions (present vaiue) (wrongful death actions only) ............. . $
h._J vatue of personal service, advice, or training (wrongful death actions ONMy) ......cccsscscsssessseensvasesresees $
i. LT Other (specify) Other loss due to fraud oc sssmasamatasssnststnestnsntstntntnenenin $ 1,000,000
j. Other (specify) Breach of contract. $ 1,000,000

k. Cc) Continued on Attachment 2.k.

3. Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of (specify)..$ 2,000,000

when pursuing a judgment in the suit filed against you.

Date: August 28, 2018 ZZ
John P. Kristensen >

(TYPE OR PRINT NAME) (27 (SIGNATURE OF PLAINTIFF OR ATTORNEY FOR PLAINTIFF)
(Proof of service on reverse) Page 4 of 2
Coda of Civil Procedure, §§ 425,11, 426,115
Form Adopted for Mandatory Use STATEMENT OF DAMAGES as eourdntoat gov

Judicle! Council of Catifamia
close IRev. January 1, 2007] (Personal Injury or Wrongful Death)

7

Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 4of47 Page ID #:30

CIV-050

CASE NUMBER;

|__ PLAINTIFF: Lisa Friedman, et al.
BC717341

DEFENDANT: Jillian Michaels, et al.

PROOF OF SERVICE
(After having the other party served as described below, with any of the documents identified in item 1, have the person who served
the documents complete this Proof of Service. Plaintiff cannot serve these papers.)

1. | served the
a. C_] Statement of Damages C7) other (specify):

b. on (name):
c. by serving [~Idefendant C_Jother (name and title or relationship to person served):

d. C_Iby delivery [/_lathome {Jat business
(1) date:
(2) time:
(3) address:

e. (_] by maiting
(1) date:
(2) place:

2. Manner of service (check proper box):

a. C_] Personal service. By personally delivering copies. (CCP § 415.10)

b. (__] Substituted service on corporation, unincorporated association (including partnership), or public entity. By
leaving, during usual office hours, copies in the office of the person served with the person who apparently was in
charge and thereafter mailing (by first-class mail, postage prepaid) copies to the person served at the place where the
copies were left. (CCP § 415.20(a))

c CJ Substituted service on natural person, minor, conservatee, or candidate. By leaving copies at the dwelling house,
usual place of abode, or usual place of business of the person served in the presence of a competent member of the
household or a person apparently in charge of the office or place of business, at least 18 years of age, who was
informed of the genera! nature of the papers, and thereafter mailing (by first-class mail, postage prepaid) copies to the
person served at the place where the copies were left. (CCP § 415.20(b)) (Attach separate declaration or affidavit
stating acts relied cn to establish reasonable diligence in first attempting personal service.)

d. C—] mail and acknowledgment service. By mailing (by first- class mail or airmail, postage prepaid) copies to the person
served, together with two capies of the form of notice and acknowledgment and a return envelope, postage prepaid,
addressed to the sender. (CCP § 415.30) (Attach completed acknowledgment of receipt.)

e, (_] Certified or registered mail service. By mailing to an address outside California (by first-class mail, postage prepaid,
requiring a return receipt} copies to the person served. (CCP § 415.40) (Attach signed return receipt or other
evidence of actual delivery to the person served.)

ft EL) other (specify code section):
additional page is attached.
3. At the time of service | was at least 18 years of age and not a party to this action.
4. Fee for service: $
5. Person serving:

a. California sheriff, marshal, or constable f. Name, address and telephone number and, if applicable,
b. 4 Registered California process server county of registration and number:
c. Employee or independent contractor of a registered

California process server
d, C_] Not a registered California process server
e. C] Exempt from registration under Bus. & Prof. Code

§ 22350(b)
| declare under penalty of perjury under the laws of the (For California sheriff, marshal, or constable use only)
State of California that the foregoing is true and correct. I certify that the foregoing is true and correct,
Date: Date:
(SIGNATURE) (SIGNATURE)
ONegeo ev. demvany 1.2007) PROOF OF SERVICE Code of Civil Procedure §§ a5t weet

(Statement of Damages)
_Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page5of47 Page ID#:31

I John P. Kristensen (SBN 224132)
David L. Weisberg (SBN 211675)
2 || Christina M. Le (SBN 237697)
Jesenia A. Martinez (SBN 316969)

3 || KRISTENSEN WEISBERG, LLP AUG 20 2018
12540 Beatrice Street, Suite 200 sib bs Pcie zascamaity cama se athe
4 Los Angeles, California 90066 Sherri A. Carter, Executive Utteer/Lierk of Cour
Telephone: 310-507-7924 By: Brittny Smith, Deputy
5 || Facsimile: 310-507-7906
John@kristensenlaw.com
6 david@kristensenlaw.com
christina@kristensenlaw.com
7 || jesenia@kristensenlaw.com
8 | Attorneys for Plaintiff and all others
similarly situated
9 SUPERIOR COURT OF THE STATE OF CALIFORNIA
10 COUNTY OF LOS ANGELES — SPRING STREET COURTHOUSE
= sft
Gi c5] = 11 | LISA FRIEDMAN, individually and on) Case No. BO'7A 7344
= OF = 5 behalf of herself and all others similarly )
Wis}? | | situated, ) CLASS ACTION
wn = 13 )
or She ° Plaintiff, ) UNLIMITED CIVIL CASE
Mle 14 vs. )

) CLASS COMPLAINT FOR DAMAGES
JILLIAN MICHAELS, an individual; EM =) AND INJUNCTIVE RELIEF
DIGITAL, LLC, a Florida Limited Liability
Company; EMPOWERED MEDIA, LLC, a
California Limited Liability Company; and
DOES 1-100, inclusive,

1. Violation of the California Automatic
Renewal Law (Cal. Bus. & Prof. Code §§
17600-17604);

2. Violation of the California Unfair
Competition Law (Cal. Bus. & Prof. Code
§§ 17200, et seq.);

3. Violation of the California Consumer
Legal Remedies Act (Cal. Civ. Code §§

)
)
)
)
)
Defendants. )
)
)
)
21 ) 1750, et seq.);
)
)
)
)
)
)
)
)
)

4. Violation of California False Advertising
Law (Cal. Bus. & Prof. Code §§ 17500, et
seq.);

. Conversion; and

6. Restitution and Injunctive Relief (Cal.

Bus. & Prof. Code §§ 17535, et seq.).

wn

DECLARATION OF LISA FRIEDMAN

) DEMAND FOR JURY TRIAL

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
=}-

_ Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 6of47 Page ID #:32

l I. INTRODUCTION

to

1. COMES NOW plaintiff LISA FRIEDMAN (“Plaintiff”) and brings this class

La

action on behalf of herself and al! other similarly situated against defendants JILLIAN

4 || MICHAELS, EM DIGITAL, LLC, EMPOWERED MEDIA, LLC, and DOES 1-100

5 || (collectively, “Defendants”).

6 2 These causes of action arise from Defendants’ unlawful practices with regard to

7 || automatic renewals of consumers’ subscription to Defendants’ “My Fitness” service without

8 || consumers’ affirmative consent.

9 3: Plaintiff brings this class action on behalf of the following class of consumers:
10 || all California residents who, within the applicable statute of limitations period, purchased

Defendants’ “My Fitness” subscription and whose credit cards or debit cards were

Piontael
—
—_

12 || automatically charged on a recurring basis as part of that subscription within the relevant time

fay

13 || period preceding the filing of this Complaint through the present (the “Class”) .and whose

oPnoys

Zz
Lu
n
2
LL
th
os
cc
v

WEISBERGus

tt

credit cards or debit cards were automatically charged on a recurring basis for such
subscription. In selling its “My Fitness” subscriptions, Defendants fail to comply with the
requirements of California’s Automatic Renewal Law, Cal. Bus. & Prof: Code §§ 17600, et
seq., by failing to provide consumers with legally compliant notices and disclosures.

Il. PARTIES

4, Plaintiff is, and at all times mentioned was, an adult residing in the State of

20 || California.

2] 5. The putative Class Members are comprised of California residents who, within
22 || the applicable statute of limitations period, purchased Defendants’ “My Fitness” subscription
23 || and whose credit cards or debit cards were automatically charged on a recurring basis as part of
24 || that subscription within the relevant time period preceding the filing of this Complaint through
25 || the present without first obtaining affirmative consent to the agreement containing the

26 || automatic renewal offer as required by the California Automatic Renewal Law, Cal. Bus. &

27 || Prof. Code §§ 17600-17604.

28 | ///

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-2-

_ Case 2:18-cv-09414-GW-SS Document1-1 Filed 11/05/18 Page 7 of 47 Page ID #:33

1 6. Plaintiff is informed and believes, and upon such information and belief alleges
2 || thereon, that defendant JILLIAN MICHAELS (*Michaels”) is an individual residing in the

3 || State of California.

4 ide Plaintiff is informed and believes, and upon such information and belief alleges

5 || thereon, that defendant EM DIGITAL, LLC (“EM Digital”) is a Florida Limited Liability

6 || Company with its principal place of business at 2520 Coral Way, Suite 2372, Miami, Florida
| 33145. Its agent for service of process is Cogency Global, Inc., located at 115 North Calhoun

8 Street, #4, Tallahassee, Florida 32301.

9 8. Plaintiff is informed and believes, and upon such information and belief alleges
10 || thereon, that defendant EMPOWERED MEDIA, LLC (“Empowered Media”) is a California

Limited Liability Company with its principal place of business at 9100 Wilshire Boulevard,

mo
c I Lsuip
Mhoammtilts
—
—_

F
t

Suite 520E, Beverly Hills, California 90212. Its agent for service of process is Jillian Michaels,

13 located at 9100 Wilshire Boulevard, Suite 520E. Beverly Hills, California 90212.

KRISTENSEN

Attorneys for

VWEISE

14 9. The true names and capacities of defendants sued herein as DOES 1!-100,
inclusive are unknown to Plaintiff who therefore sues said defendants by such fictitious names.
Plaintiff prays for leave to amend this Complaint to show their true names and capacities when
the same have been finally determined. Plaintiff is informed and believes, and upon such

information and belief alleges thereon, that each of the defendants designated herein as DOE is

negligently, intentionally, strictly liable or otherwise legally responsible in some manner for the

20 || events and happenings herein referred to, and negligently, strictly liable intentionally or

21 otherwise caused injury and damages proximately thereby to Plaintiff, as is hereinafter alleged.
22 10. At all times herein mentioned, each and every Defendant herein was the owner,
23 agent, ostensible agent, apparent agent, servant, joint venture, alter ego and employee, each of
24 || the other and each was acting within the course and scope of his or him ownership, agency,

25 || service, joint venture and employment.

26 LI. At all times mentioned herein, each and every Defendant was the successor of

27 || the other and each assumes the responsibility for the acts and omissions of all other Defendants.

28 | ///

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
us

. Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 8 of 47 Page ID #:34

l Il, VENUE AND JURISDICTION

2 12. Jurisdiction and venue are proper in Los Angeles County in the State of
3 || California. The acts or omissions occurred in Los Angeles County, California, and at the time

4 | of the acts and omissions, all Defendants were residents or conducted business in Los Angeles

5 || County, California. Furthermore, this venue is convenient to the parties and is an appropriate
6 || venue for a civil action for damages.
P 13. Removal is improper where the sole basis of removal is 28 U.S.C. § 1332 and

8 || any defendant is a citizen of the State in which such action is brought. “Protection against local
9 || prejudice is the essential purpose of removal jurisdiction based on diversity of citizenship.

10 || Thus, defendants cannot remove a case to federal court if any defendant joined and served

Ll || resides in the state where the action is pending.” 28 U.S.C. § 1441(b). This is so even if there is

12 || complete diversity. Spencer v. Altec Industries, Inc. (9th Cir. 2004) 393 F.3d 867, 870

5
{

2 13 (emphasis added). Michaels is a California resident. Empowered Media is a California Limited

Liability Company and its principal place of business is located at 9100 Wilshire Boulevard,

Suite 520E, Beverly Hills, California 90212. None of the causes of action involve “substantial”

questions of federal law. 28 U.S.C. § 1331. Thus, this matter is properly venued in this Court.
14. Further, removal is improper under the Class Action Fairness Act of 2005

(“CAFA”), Enacted to expand federal jurisdiction over purported class actions, CAFA provides

that a class action may be removed in accordance with 28 U.S.C. § 1446 if: (1) membership in
20 || the putative class is not less than 100; (b) any member of the plaintiff class is a citizen of a

21 || foreign country ora state different from any defendant; and (c) the aggregate amount in

22 || controversy exceeds $5,000,000. See 28 U.S.C. § 1453(b) and § 1332(d). Here, the amount in
23 || controversy requirement is not met as Defendants began offering to the public the “My Fitness”
24 || service in 2017 for subscriptions based on $14.99/mo. for a month subscription, $29.99 for a 3-
25 || month subscription, and $99.99/yr. for a year-long subscription. The putative Class is not so

26 || numerous as to reach an aggregate of $5,000,000 given that the “My Fitness” service was first

27 || offered to the public in 2017.

28 iif

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL}
DECLARATION OF LISA FRIEDMAN
-4-

. Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 9of47 Page ID #:35

1] IV. ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

2 (Against All Defendants)
3 A. Defendants’ “My Fitness” Service Subscriptions
4 15. Defendants’ “My Fitness” service is advertised as a wellness tool providing

5 || workouts by Michaels as well as a customizable meal planner. As advertised, “My Fitness by
6 || Jillian Michaels gets your fit plan on track!” Further, Defendants claim that the “My Fitness”
7 || service is “[mJore than a simple exercise apps [sic] this fully custom total fitness app builds

8 || around your health goals with a meal planner, and fitness tracker integration that dynamically
9 | modifies the exercise routines based on your input, health tracking and progress.”

10 16. Further, Defendants claim, “My Fitness by Jillian Michaels allows you to

Jiu

cq
Ln

Lt workout with or without equipment anytime, anyplace, on any device. From your phone, tablet,

EAL

12 }| or even streaming the workouts to your tv, there is no excuse not to get your sweat on. “

13 17. Defendants offer three subscriptions: monthly, three (3) months, or yearly.

Attorneys for Ptabelis

WEISE

Zz
Ww)
oO
za
ti 2s
ke
uw
cr
x

14 || Before paying for a subscription, Defendants offer a seven (7) day free trial.

18. For every recurring subscription, the consumer’s payment method is charged at
the time of initially purchasing the subscription, and thereafter, for ensuing consecutive months
corresponding to the consumer’s chosen frequency. For every type of subscription, thus, the

consumer’s payment method is automatically charged as part of the recurring subscription.

B. Plaintiff's Transaction

20 19. Inor around January 2018, Plaintiff purchased a subscription to Defendants’

21 “My Fitness” service and was offered a free seven (7) day trial. Upon signing up to the “My

22 || Fitness” service, Plaintiff was asked to fill in a payment method for the subscription, which

23 || Plaintiff did when prompted through Defendants’ check-out process.

24 20. After the seven (7) day free trial expired, Plaintiff's payment method was

25 || charged every month cycle of the subscription, and continues to be charged.

26 21. Defendants’ correspondence with Plaintiff did not disclose any clear and

27 || conspicuous way for Plaintiff to cancel the auto-renewal subscription or offer directions on how

28 || Plaintiff can cancel the auto-renewal subscription.

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
<5

Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 10of 47 Page ID #:36

l Cc. California Automatic Renewal Law, Cal. Bus. & Prof. Code §§ 17600-17606

Nw

22. On December 1, 2010, §§ 17600-17606 of Article 9 of Chapter | of Part 3, of

Division 7 of the California Business & Professions Code came into effect. The stated intent of

wo

4 || the Legislature of this Article was to end the practice of charging consumers’ payment methods
5 || without the consumers’ explicit consent for ongoing shipments of a product or ongoing

6 || deliveries of service. See Cal. Bus. & Prof: Code § 17600 (emphasis added).

7 23. Cal. Bus. & Prof: Code § 17602(a) makes it unlawful for any business making

8 || an automatic renewal or continuous service offer to a consumer in this state to do any of the

9 || following:

10 a. Fail to present the automatic renewal offer terms or continuous service offer
= sft
co z II terms in a clear and conspicuous manner “before the subscription or
cs ws : 12 purchasing agreement is fulfilled and in visual proximity”;
= : 13 b. Charge the consumer’s credit or debit card or the consumer’s account with a
S| §
= =z 14 third party for an automatic renewal or continuous service without first

a

215 obtaining the consumer’s affirmative consent to the agreement containing
16 the automatic renewal offer terms or continuous service offer terms;
17 c. Fail to provide an acknowledgement that includes the automatic renewal or
_ 18 continuous offer terms, cancellation policy, and information regarding how
“19 to cancel in a manner that is capable of being retained by the consumer. If
20 the offer includes a free trial, the business shall also disclose in the
21 acknowledgment how to cancel and allow the consumer to cancel before the
22 consumer pays for the goods or services.
23 24, Cal. Bus. & Prof, Code § 17601(a) defines the term ‘Automatic renewal” as a

24 || “plan or arrangement in which a paid subscription or purchasing agreement is automatically

25 || renewed at the end of a definite term for a subsequent term.”

26 25. Cal. Bus. & Praf Code § 17601(b) states that “*‘ Automatic renewal offer terms’
27 || means the following clear and conspicuous disclosures: (1) That the subscription or purchasing

28 || agreement will continue until such consumer cancels. (2) The description of the cancellation

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL}
DECLARATION OF LISA FRIEDMAN
-6-

.Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 11o0f47 Page ID #:37

l policy that applies to the offer. (3) The recurring charges that will be charged to the consumer’s
2 || credit or debit card or payment account with a third party as part of the automatic renewal plan
3 || or arrangement, and that the amount of the charge may change, if that is the case, and the

4 | amount of the charge will change, if known. (4) The length of the automatic renewal term or
that the service is continuous, unless the length of the term is chosen by the consumer. (5) The

minimum purchase obligation, if any.”

sa DW WN

26. Cal. Bus. & Prof: Code § 17601(c) defines “clear and conspicuous” or “clearly
8 || and conspicuously” to mean “in larger than the surrounding text, or in contrasting type, font, or
9 || color to the surrounding text of the same size, or set off from the surrounding text of the same

10 || size by symbols or other marks, in a manner that clearly calls attention to the language.”

a & =
tH OD] 8 11 27. Cal. Bus. & Prof Code § 17603 provides: “In any case in which a business sends
Zl. vay Soo or nr .
ion | $ 14 any goods, wares, merchandise, or products to a consumer, under a continuous service
Ko].
in] £ x . + : ~ -
Q rel S 13 agreement or automatic renewal ofa purchase, without first obtaining the consumer’s
{ls
¥ S12

affirmative consent as described in Section 17602, the goods, wares, merchandise, or products
shall for all purposes be deemed an unconditional gift to the consumer, who may use or dispose
of the same in any manner he or she sees fit without any obligation whatsoever on the
consumer’s part to the business, including, but not limited to, bearing the cost of, or

responsibility for, shipping any goods, wares, merchandise, or products to the business.”

D. Defendants Do Not Provide Clear and Conspicuous Disclosures for Its Auto
20 || Renewal Program as Required by Cal. Bus. & Prof. Code § 17602(a)(1)

21 28. Defendants failed to inform Plaintiff and the Class in clear and conspicuous

22 || language, i.z., “in larger type than the surrounding text, or in contrasting type, font, or color to

23 || the surrounding text of the same size, or set off from the surrounding text of the same size by

24 || symbols or other marks, in a manner that clearly calls attention to the language” that:

25 (1) The purchasing agreement will continue until the consumer cancels;

26 (2) Adequately describes the cancellation policy that applies to the offer;

27 (3) The recurring charges will be charged to the consumer’s credit or debit card
28 or payment account with a third party as part of the automatic renewal plan

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
27

.Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 12o0f47 Page ID #:38

| or arrangement, and that the amount of the charge may change, if that is the
2 case, and the amount to which the charge will change, if known.

3 (4) The length of the automatic renewal term or that the service is continuous,
4 unless the length of the term is chosen by the consumer.

5 (5) There is a minimum purchase obligation, if any.

6 E. Defendants Fail to Obtain Affirmative Consent to the Agreement

7 || Containing the Automatic Renewal Offer Terms
8 29. ‘Plaintiff and the Class were automatically enrolled in the Auto Renewal Program

9 || for Defendants’ “My Fitness” service without their “affirmative consent,” within the meaning

10 || of Cal. Bus. & Prof. Code § 17602(a)(1).

a 3 : 11 30. Plaintiff and the Class did not affirmatively consent, sign up, or check a box to
i ui : 12 || be included in the Auto Renewal Program. Instead, Defendants imported the credit/debit card
= = : 13 || information of Plaintiff and the Class into the Auto Renewal Program without their consent.

. S| 2 14 Defendants as well do not allow Plaintiff and the Class to delete this credit/debit card

information without providing other credit/debit card information.
31.  Plaintiffand the Class did not give their affirmative consent, within the meaning
of Cal. Bus. & Prof, Code § 17602(a)(1), to an agreement containing “automatic renewal offer

terms,” with the necessary clear and conspicuous disclosures of terms, such as price terms.

32. Despite never receiving affirmative consent from Plaintiff and the Class, and

20 | without Plaintiff and the Class authorizing such charges, Defendant charged Plaintiff and the
21 || Class for the renewal of the subscription to the “My Fitness” service.

22 33. Accordingly, Defendants charged Plaintiff and the Class “without first obtaining
Z3 Plaintiff's and the Class’ affirmative consent” to the agreement containing “the automatic

24 renewal offer terms or continuous service offer terms,” with the necessary clear and

25 || conspicuous disclosures of terms, such as price terms.

26 34. Asa result of the above, and in addition to violating other laws, as described

27 || below, Defendants violated Cal. Bus. & Prof Code § 17602(a)(2), and as such, all goods,

28 wares, merchandise, or products, sent to Plaintiff and the Class under the automatic renewal or

CLASS COMPLAINT FOR DAMAGES AND [NJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-8-

.Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 13 0f 47 Page ID #:39

I continuous service agreement are deemed to be an unconditional gift pursuant to Cal. Bus. &
2 || Prof Code § 17603, and Plaintiff and the Class may use or dispose of the same in any manner
3 || they see fit without any obligation whatsoever on the consumer's part to the business,

4 || including, but not limited to, bearing the cost of, “or responsibility for, shipping any goods,

5 || wares, merchandise, or products to the business.”

6 F. Defendants Fail to Provide an Acknowledgement as Required by Cal. Bus.

7 & Prof. Code § 17602(a)(3)

8 35. Furthermore, and in addition to the above, after Plaintiff and the Class

9 subscribed to Defendants’ “My Fitness” service, Defendants sent, and continue to send,

. 10 | Plaintiff and the Class email correspondence. But those emails failed, and continue to fail, to

ci cj 3 1] provide an acknowledgement that includes the automatic renewal and/or continuous service
fe - : 12 || offer terms, cancellation policy, and information on how to cancel in a manner that is capable of
“| 2 13 || being retained by Plaintiff and the Class, in violation of Cal. Bus. & Prof. Code § 17602(a)(3).
Vel:

14 Moreover, Defendants failed to provide Plaintiff and the Class with an acknowledgement
regarding how to cancel the subscription and allow Plaintiff and Class Members to cancel
before payment.

G, Class Allegations

4

36. Plaintiff brings this action on behalf of herself and all other similarly situated, as

a class action pursuant to Cal. Code Civ. Proc. § 382. The proposed Class that Plaintiff seeks to
20 || represent is composed of and defined as: all California residents who, within the applicable

21 statute of limitations period, purchased Defendants’ “My Fitness” subscription and whose credit
22 || cards or debit cards were automatically charged on a recurring basis as part of that subscription
23 || within the relevant time period preceding the filing of this Complaint through the present (the
24 || “Class’’) .and whose credit cards or debit cards were automatically charged on a recurring basis
25 || for such subscription.

26 37. This action has been brought and may properly be maintained as a class action

27 || under Cal. Code Civ. Proc. § 382 because there is a well-defined community of interest in the

28 || litigation, the Class is easily ascertainable, and Plaintiff is a proper representative of the Class:

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-9-

Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 14o0f47 Page ID #:40

l a. Numerosity: The potential members of the Class as defined are so

2 || numerous and so diversely located throughout California that joinder of all the members of the
3 || Class is impracticable. Members of the Class are dispersed throughout California. Joinder of all
4 || members of the Class is therefore not practicable,

5 b. Commonality: There are questions of law and fact common to Plaintiff

6 || and the Class that predominate over any questions affecting only individual members of the

7 || Class. These common questions of law and fact include, without limitation:
8 1 Whether Defendants failed to present the automatic renewal offer
2 terms, and/or continuous service offer terms, in a clear and
10 conspicuous manner before the subscription or purchasing
a e 5 : 11 agreement was fulfilled and in visual proximity, or in the case of
cs us : 12 an offer conveyed by voice, in temporal proximity, to the request
= = : 13 for consent to the offer in violation of Cal. Bus. & Prof Code §
¥SI:

14 17602(a)(1);

il. Whether Defendants charged Plaintiff's and the Class Members’
credit or debit card or payment account with a third party for an
automatic renewal and/or continuous service without first

obtaining Plaintiff's and Class Members’ affirmative consent to

the automatic renewal offer terms and/or continuous service offer

20 terms in violation of Cal. Bus. & Prof Code § 17602(a)(2);

21 iil. Whether Defendants failed to provide an acknowledgement that
22 included the automatic renewal and/or continuous service offer
23 terms, cancellation policy, and information on how to cancel ina
24 manner that is capable of being retained by Plaintiff and Class
25 Members, in violation of Cal. Bus. & Prof’ Code § 17602(a)(3);
26 iv. Whether Defendants’ Auto Renewal Program contained the

27 automatic renewal offer terms and/or continuous service offer
28 terms as defined by Cal. Bus. & Prof. Code § 17601;

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-10-

.Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 15o0f47 Page ID #:41

l V. Whether Plaintiff and Class Members are entitled to restitution
2 under Cal. Bus. & Prof. Code § 17200-17203;
3 vi. Whether Plaintiff and Class Members are entitled to injunctive
4 relief under Cal. Bus. & Prof. Code § 17535;
5 Vil. Whether Plaintiff and Class Members are entitled to attorneys’
6 fees and costs under Cal. Code Civ. Proc. § 1021.5; and
ie viii. The proper formula(s) for calculating restitution owed to Class
8 Members.
9 & Typicality: Plaintiff's claims are typical of the claims of the Class.
10 || Plaintiff and Class Members were deprived of property rightly belonging to them, arising out
Z fz
a c5| = Ll | of, and caused by, Defendants’ common course of conduct in violation of law as alleged herein,
wets Src acca:
toy 4} = 12 | in similar ways.
eile
ale BB d. Adequacy of Representation: Plaintiff is a member of the Class and will
cs]:
MSI 14 fairly and adequately represent and protect the interests of the Class Members. Plaintiff's

interests do not conflict with those of the Class Members. Counsel who represent Plaintiff are
competent and experience in litigating large class actions, and will devote sufficient time and
resources to the case and otherwise adequately represent the Class.

e. Superiority of Class Action: A class action is superior to other available

means for the fair and efficient adjudication of this controversy. Individual joinder of all Class
20 || Members is not practicable, and questions of law and fact common to the Class predominate

21 over any questions affecting only individual members of the Class. Plaintiff and Class Members
22 || have suffered losses, or may suffer losses in the future, by reason of Defendants’ unlawful

23 || policies and/or practices of not complying with Cal. Bus. & Prof Code §§ 17600-17606.

24 || Certification of this case as a class action will allow those similarly-situated persons to litigate
25 || their claims in the manner that is most efficient and economical for the parties and the judicial
26 || system. Certifying this case as a class action is superior because it allows for efficient and full

27 || restitution to Class Members, and will thereby effectuate California’s strong public policy of

28 || protecting the California public from violations of its laws. If this action is not certified as a

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-l1-

_Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 16 of 47 Page ID #:42

1 || class action, it will be virtually impossible, as a practical matter, for many or most Class

bo

Members to bring individual actions to recover monies due from Defendant due to the relatively

small amounts of such individual recoveries relative to the costs and burdens of litigation.

2

4} V. CAUSES OF ACTION

5 FIRST CAUSE OF ACTION

6 VIOLATION OF THE CALIFORNIA AUTOMATIC RENEWAL LAW

7 (CAL. Bus. & Pror. CoDE §§ 17600-17604)

8 (Against All Defendants)

9 38. Plaintiff hereby incorporates by reference and re-alleges each and every

10 || allegation set forth in each and every preceding paragraph of this Complaint, as though fully set

Zz §
LL rn Be neil
a © 11 forth herein.
= te 12 39. Cal. Bus. & Prof. Code § 17600-17606 provides:
Et
= = 13 “(a) It shall be unlawful for any business making an automatic renewal or continuous
|:
os mlz 14 service offer to a consumer in this state to do any of the following:

a. Fail to present the automatic renewal offer terms or continuous service offer
terms in a clear and conspicuous manner before the subscription or

purchasing agreement is fulfilled and in visual proximity, or in the case of an

offer conveyed by voice, in temporal proximity, to the request for consent to

the offer.
20 b. Charge the consumer's credit or debit card of the consumer’s account with a
2] third party for an automatic renewal or continuous service without first
Dads obtaining the consumer’s affirmative consent to the agreement containing the
23 automatic renewal offer terms or continuous service offer terms.”
24 Tel.
25 40. Defendants charged, and continue to charge, Plaintiff and Class Members for the

26 || automatic renewal of Defendants’ product without first obtaining Plaintiff and Class Members’
27 || affirmative consent to the agreement containing the automatic renewal offer terms, with the

28 || necessary clear and conspicuous disclosures of terms, such as price terms.

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL}
DECLARATION OF LISA FRIEDMAN
12.

.Case 2:18-cv-09414-GW-SS Document1-1 Filed 11/05/18 Page 17 of47 Page ID #:43

l 41. Asaresult of Defendants’ violations of Cal. Bus. & Prof Code § 17602(a)(1)-

bo

(2), Defendants are liable to provide restitution to Plaintiff and Class Members under Cal. Bus.

& Prof. Code § 17603 in the amount equaling the total amounts charged to all Class Members

Ls

4 || for auto-renewed services.

5 SECOND CAUSE OF ACTION

6 VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW

7 (CAL. Bus. & PROF. CoE §§ 17200, ET SEQ.)

8 (Against All Defendants)

9 42. _ Plaintiff hereby incorporates by reference and re-alleges each and every

10 || allegation set forth in each and every preceding paragraph of this Complaint, as though fully set

= =|:
LES r = Ay sae
i o i 11 |} forth herein.
a i : 12 43. Cal. Bus. & Prof. Code § 17200, et seg. (the “UCL”), prohibits unfair
Et]
Ud} = * x as ‘ :
Y) -| : 13 | competition in the form of any unlawful, unfair, or fraudulent business act or practice. Cal. Bus.
=]:
Y Ss

14 || & Prof Code § 17204 allows “any person who has suffered injury in fact and has lost money or

property” to prosecute a civil action for violation of the UCL. Such a person may bring such an
action on behalf of himself and others similarly situated who are affected by the unlawful,
unfair, or fraudulent business practice.

44, Beginning at an exact date unknown to Plaintiff, but at least since the “My

Fitness” service was first offered to consumers, and continuing to the present, Defendants have
20 || committed unlawful, unfair, and/or fraudulent business acts and practices as defined by the
21 || UCL, inter alia, by violating Cal. Bus. & Prof? Code § 17602(a)(1) and/or for the unlawful,

22 || unfair, or fraudulent business acts or practices described more fully herein.

23 | //
24 Wf
25 |} M//
26 | //
27 | Ui
28 |} ///

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL}
DECLARATION OF LISA FRIEDMAN
~[3-

.Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 18o0f47 Page ID #:44

I 45, Defendants have profited from their unlawful, unfair and/or fraudulent business

bo

act or practice. Plaintiff and Class Members paid money for Defendants’ “My Fitness” service,

and as such suffered an injury in fact. Defendants violated Cal. Bus. & Proj Code § 17602, thus

la

4 || pursuant to Cal. Bus. & Prof. Code § 17603, Plaintiff's and Class Members’ subscriptions are

5 deemed unconditional gifts. Yet, Defendant charged Plaintiff and Class Members for these

6 || unconditional gifts. Plaintiff and Class Members therefore suffered injury in the form of the

7 || fees paid for these unconditional gifts.

8 46. Defendants received, and continue to hold, unlawfully obtained property and

9 || money belonging to Plaintiff and Class Members in the form of payments made for subscription

- 10 || agreements by Plaintiff and Class Members. Defendant has profited from its unlawful, unfair,
a 3 : 11 || and/or fraudulent acts and practices.
a bi : 12 47, Plaintiff and similarly-situated Class Members are entitled to restitution pursuant
Se 13 |) to Cal. Bus. & Prof Code § 17203
_ “S13 14 48. Pursuant to Cal. Bus. & Prof Code § 17204, Plaintiff seeks an order of this

Court enjoining Defendants from continuing the auto renewal practices described herein as
these practices constitute violations of the UCL. The general public will be irreparably harmed
if such an order is not granted.

THIRD CAUSE OF ACTION

VIOLATION OF CALIFORNIA CONSUMER LEGAL REMEDIES ACT

20 (CAL. Civ. CODE § 1750, ET SEQ.)
2] (Against All Defendants)
22 49, Plaintiff hereby incorporates by reference and re-alleges each and every

23 || allegation set forth in each and every preceding paragraph of this Complaint, as though fully set
24 || forth herein.

2 50. This cause of action is brought pursuant to the California Consumer Legal

26 || Remedies Act (*CLRA”), Cal. Civ. Code § 1750, et seq.

27 Wh If/

28 || JI

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL}
DECLARATION OF LISA FRIEDMAN
-14-

. Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 19 o0f47 Page ID #:45

1 51. Plaintiff and all of the members of the Class are “consumers” within the meaning

No

of Cal. Civ. Code §§ 1761(d) and 1770(a) in that Plaintiff and all members of the Class

3 || purchased products from Defendants for personal, family, or household purposes.

4 52. Through the conduct described more fully above, Defendants violated Cal. Civ.
5 || Code § 1770(a), in that Defendant failed to properly disclose its “auto-renewal” program terms
6 || and continuous services terms. Defendants, due to their inadequate disclosures:
7 a. deceptively represent to consumers that their transactions involve a one-time
8 fee, when in fact, Defendants later go on to charge consumers additional
2 amounts in violation of § 1770(a)(4);
10 b. represent that its goods or services “have sponsorship, approval,

ci 3 : 11 characteristics, ingredients, uses, benefits, or quantities that they do not

i ui 2 12 have” in violation of § 1770(a)(5);

= : 13 c. advertise “goods or services with intent not to sell them as advertised” in

<> 2 14 violation of § 1770(a)(9)’

d. represent that “a transaction confers or involves rights, remedies, or
obligations that it does not have or involved, or that are prohibited by law” in
violation of § 1770(a)(14); and

e. insert “an unconscionable provision in the contract” as Defendants’ “auto-

renewal” program terms are unconscionable because, among other reasons,

20 they are not adequately disclosed, automatically charging consumers without
21 their affirmative consent.
22 53. Pursuant to Cal. Civ. Code § 1782(d), Plaintiff seeks a Court order enjoining the

23 || above-described wrongful acts and practices of Defendants and for restitution and

24 || disgorgement.

25 54. Plaintiff seeks equitable and injunctive relief requiring, infer alia, that

26 || Defendants stop advertising its “auto-renewal” program.

27 55. Pursuant to Cal. Civ. Code § 1780(d), filed concurrently herewith is an affidavit

28 || showing that this action has been commenced in the proper forum.

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-15-

. Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 20 of 47 Page ID #:46

] 56. Pursuant to Section 1782 of the CLRA, Plaintiff intends to notify Defendants in

bho

writing of the particular violations of Section 1770 of the CLRA (the “Notice Letter”). If

Defendants fail to comply with Plaintiff's demands within thirty days of receipt of the Notice

lad

4 || Letter, pursuant to Section 1782 of the CLRA, Plaintiff will amend this Complaint to request

5 || damages and other monetary relief under the CLRA.

FOURTH CAUSE OF ACTION

VIOLATION OF CALIFORNIA FALSE ADVERTISING LAW

6

7

8 (CAL. Bus. & PROF. CoDE §§ 17500, ET SEQ.)
9 (Against All Defendants)

0

Sih Plaintiff hereby incorporates by reference and re-alleges each and every

11 |) allegation set forth in each and every preceding paragraph of this Complaint, as though fully set

{isu

for Plormmtitis

aE

12 forth herein.

13 58. Cal. Bus. & Prof Code § 17500 provides that “[i]t is unlawful for any .. .

ALArnG ys

WEISI

14 || corporation... with intent... to dispose of... personal property .. . to induce the public to

¥

y KRISTENSEN
3

enter into any obligation relating thereto, to make or disseminate or cause to be made or
disseminated . . . from this state before the public in any state, in any newspaper or other
publication, or any advertising device, or by public outery or proclamation, or in any other
manner or means whatever, including over the Internet, any statement... which is untrue or
19 misleading, and which is known, or which by the exercise of reasonable care should be known,
20 |] to be untrue or misleading.”

21 59. Asalleged above, Defendants failed to disclose the terms of its “auto-renewal”
22 || and continuous service program in a clear and conspicuous manner when marketing its “My
23 Fitness” service.

24 60. Thus, Defendants’ statements are untrue, deceptive, and misleading within the

25 || meaning of Cal. Bus. & Prof Code §§ 17500, et seg. Defendants’ statements, non-disclosures,

26 || representations, acts and omissions are also likely to continue deceiving members of the Class

27 || and the general public.

28 | ///

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-16-

. Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 21 0f 47 Page ID #:47

1 6l. In making and disseminating the statements alleged herein, Defendants knew or
2 || should have known that the statements were untrue or misleading, and acted in violation of Cal.
3 || Bus. & Prof Code §§ 17500, et seq.
4 62. Defendants’ misrepresentations and non-disclosures of the material facts detailed
5 || above constitute false and misleading advertising and, as such are a violation of Cal. Bus. &
6 || Prof Code §§ 17500, et seq.
a 63. Asadirect and proximate result of Defendants’ misleading and false advertising,
8 || Plaintiff and the members of the Class suffered injury in fact and lost money or property.
9 || Plaintiff and the members of the Class reasonably relied upon Defendants’ representations as

10 || discussed above. In reasonable reliance on Defendants’ false advertising, Plaintiff and the

members of the Class suffered injury in fact as a result.

Micnated
—
—

t..

L
—

NI

2 64. Through their deceptive acts and practices, Defendants have improperly and

for

22 DOR

SBE

13 |) illegally obtained money from Plaintiff and members of the putative Class. As such, Plaintiff

Ele

ALLOr ays

Ag
vv

\

14 || requests that this Court compel Defendants to restore this money to Plaintiff and members of
the putative Class, and to enjoin Defendants from continuing to violate Cal. Bus. & Prof’ Code
§§ 17500, ef seg., as discussed above.

65, Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff requests that the Court

order Defendants to fully disclose the true nature of its misrepresentations. Plaintiff also

requests an order requiring Defendants to disgorge its ill-gotten gains and/or award full

20 || restitution of all monies wrongfully acquired by Defendants by means of such acts of false
21 || advertising. Plaintiff and the putative Class will be irreparably harmed and/or denied an

22 || effective and complete remedy if such an order is not granted.

23 66. Plaintiff and the members of the Class seek declaratory relief, restitution, and

24 || disgorgement or all profits obtained.

25 4 Ml
26 | iii
27 dil
28 | /f/

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-|7-

. Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 22 of 47 Page ID #:48

l FIFTH CAUSE OF ACTION

Z CONVERSION

3 (Against All Defendants)

4 67. Plaintiff hereby incorporates by reference and re-alleges each and every

5 || allegation set forth in each and every preceding paragraph of this Complaint, as though fully set
forth herein.
68. Plaintiff and the Class owned, possessed, and had a right to possess the money

6

7

8 || used to pay Defendants for the “My Fitness” service.

9 69. Defendants substantially interfered with Plaintiff's and the Class’ property by
0

l knowingly or intentionally taking possession of Plaintiff's and the Class’ money through the

2 Ss
ten}? 11 || acts described above.
=|]:
a = 12 70. Plaintiff and the Class did not consent.
t-te

WD
= er 13 71. Plaintiff and the Class were harmed.

=|: ‘ta sii
Mele 14 72. Asadirect and proximate result of Defendants’ acts and/or omisions, Plaintiff

and the members of the Class suffered injury in fact and lost money or property. Plaintiff and
the members of the Class reasonably relied upon Defendants’ representations as discussed
above. Plaintiff and the members of the Class suffered injury in fact as a result.

73: Defendants’ conduct was a substantial factor in causing Plaintiff's and the Class’

harm.
20 74. Pursuant to Cal. Civ. Code § 3336, Plaintiff seeks the value of the property at the
21 time of the conversion, “with interest from that time, or, an amount sufficient to indemnify

22 | [Plaintiff] for the loss which is the natural, reasonable and proximate result of the wrongful act

23 || complained of” and “{a] fair compensation for the time and money properly expended in pursuit

24 || of the property.

25 | //
26 || //
27 | M/
28 | ///

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-18-

. Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 23 of 47 Page ID #:49

] SIXTH CAUSE OF ACTION

2 RESTITUTION AND INJUNCTIVE RELIEF

3 (CAL. Bus. & PROF, CODE §§ 17535, ET SEQ.)

4 (Against All Defendants)

5 75. Plaintiff hereby incorporates by reference and re-alleges each and every

6 || allegation set forth in each and every preceding paragraph of this Complaint, as though fully set

~~!

forth herein.
76. Cal. Bus. & Prof Code § 17535 allows “any person who has suffered injury in
9 || fact and has lost money or property” to prosecute a civil action for violation of the UCL. An

10 || individual aggrieved as such may bring an action on behalf of himself or herself and others

y

11 |! similarly situated who are affected by the unlawful and/or unfair business practice.

Plamtitin

-RL

ee 12 77. Defendants have committed unlawful and/or unfair business acts and practices
Ue A . . . > t * . . . .
ia 13 || within the meaning of the UCL based on their violations of the Automatic Renewal Law, Cal.

=

Lu

nn

Ze
iy
oy -
wo

or

Vv

WEISE

14 |) Bus. & Prof Code §§ 17601, ef seq., as set forth above.

78. Asadirect and proximate result of Defendants’ unlawful and/or unfair business
acts and practices, described herein, Defendant has received and continues to hold unlawfully
obtained money belonging to Plaintiff and the Class in the form of payments made by them for

Defendants’ “My Fitness” service subscription. Defendants have profited from their unlawful

and unfair acts and practices in the amounts of those subscription payments and interest accrued
20 || thereon.

21 79. — Plaintiffand the Class are entitled to injunctive relief and/or restitution pursuant
22 || to Cal. Bus. & Prof. Code § 17535 and interest thereon for all monies paid by Class Members
23 || under the subscriptions through the date of such restitution, at rates specified by law.

24 || Defendants should be required to disgorge all profits and gains they have reaped and should be
25 || ordered to restore those profits and gains to Plaintiff and the Class, from whom they were

26 || unlawfully taken.

27 80. Plaintiff and the Class are entitled to enforce all applicable penalty provisions

28 || pursuant to Cal. Bus. & Prof Code § 17202.

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-19-

. Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 24 of 47 Page ID #:50

l 81. Plaintiff has assumed the responsibility of enforcement of the laws lor the

bo

benefit of consumers by suing on behalf of herself and other similarly situated Class Members.

Plaintiff's success in this action will enforce important rights affecting the public interest.

a

4 | Therefore, an award of reasonable attorneys’ fees to Plaintiff is appropriate pursuant to Cal.
5 || Code Civ. Proc. § 1021.5.
6 PRAYER FOR RELIEF

7 WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for relief and

8 || judgment as follows:

9 |. Certifying the Class as requested herein;
10 2. Providing such further relief as may be just and proper; and

Zz 2/[:
a oo}? 1 3. Appointing Plaintiffand her counsel to represent the Class.

Ory:
5 nl 12 In addition, Plaintiff, and the Class Members pray for further judgment as follows:
py

wo] =
= ale 13 4, Restitution of the funds improperly obtained by Defendants;
¥=]i

l4 5. Any and all statutory enhanced damages;

6. All reasonable and necessary attorneys’ fees and costs provided by statute,
common law or the Court’s inherent power;

7. Anaward of exemplary/punitive damages;

8. For equitable and injunctive relief, and

9, Any and all other relief that this Court deems just and proper.

21 Dated: August 17, 2018 IKRISTENSEN WEISBERG, LLP

22 _
we Me
24 ohn P. Kristensen

~ David L. Weisberg

25 Christina M. Le
Jesenia A. Martinez

26 Attorneys for Plaintiff and all other
similarly situated

27

28

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-20-

. Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 25 o0f47 Page ID #:51

l DEMAND FOR JURY TRIAL

= Plaintiff hereby demands a trial by jury on all issues which may be tried by a jury.
3

‘ Dated: August 17, 2018 IKRISTENSEN WEISBERG, LLP

5

° on

7 John P. Kristensen
David L. Weisberg

8 Christina M. Le

Jesenia A. Martinez

? Attorneys for Plaintiff and all other
10 similarly situated
2 sf:
Wrnl= 11
wn]:
cc} 2
z ty *
Lu | 12
miele
ne Ly & 13
ao |:
= [a
wee HS 14

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN
-21-

, Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 26 of 47 Page ID #:52

ter

WELISHE Ts,

iw
uv

'

es

@ KRISTENSEN

DECLARATION OF LISA FRIEDMAN

|, Lisa Friedman, declare that if called as a witness, | could and would competently
testify to the following facts:

le | submit this declaration pursuant to Section 1780(d) of the California
Consumer Legal Remedies Act. | have personal knowledge of the matters set forth below and
as a witness, | could and would be competent to testify thereto.

2. It is my understanding that Jillian Michaels, EM Digital, LLC, and Empowered
Media, LLC conduct regular and sustained business in Los Angeles County, California.

| declare under penalty of perjury under the laws of the State of California and the

United States that the foregoing is true and correct and that this declara:ion was executed on

Lisa Friedman

August 17, 2018.

CLASS COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF; DEMAND FOR JURY TRIAL;
DECLARATION OF LISA FRIEDMAN

- "Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 27 of 47 Page ID #:53

a

CM-010
ATTORNEY OF PARTY THOT ATTORNEY ere Stata Ber number, and address}: FOR COURT USE ONLY
Kristensen Weisberg, CLE COPY
5 eatrice Street, Suite 200 ED
Los Angeles, CA 90066 CON OR RILED _
reveprone no: 310-507-7924 raxno: (310) 507-7906 Superior Court of Califo
aTTorNeY For weno: Plaintiff Lisa Friedman paints a6)
{SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
stREET aooRess: 312 North Spring Street AUG 20 2018
MAILING ADORESS: . \
+e. : riCterk of Court
crry ano ze cone: Los Angeles, California 90012 Sheri . Carter, Executive Otiee
prancH name: Opring Street Courthouse By: Brittny Smith, Deputy
CASE NAME:
Friedman v. Michaels, et al.
CIVIL CASE COVER SHEET Comptex Case Designation age? LYS4E
(Amount. C] nour CC Counter Cc) Joindor
SUDGE:
demanded demanded is Filed with first appearance by defendant
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402} ‘| Oger:

items 1-6 below must be completed (see instructions on page 2).
i. Check one box befow for the case type that best describes this case:

Auto Tort Contract Provistonally Comptex Civil Litigation
| Auto (22) C_] Breach of contractiwarranty (08) (Cal. Rules of Court, rules 3.400-3.403)
|_| Uninsured motorist (48) [1] Rute 3.740 collections (09) [_] Antitrusi/Trade regutation (03)
Other PI/PD/WD (Personal Injury/Property Other collections (09) {_] Construction defect (10)
Damage/Wrongful Death) Tort Insurance coverage (18) [__] mass tort (40)
Asbestos (04) Other contract (37) Securities litigation (28)
Product lability (24) Real Property [__} EnvironmentayToxic tort (30)
Medical malpractice (45) (_] Eminent domaininverse insurance coverage clatms arising from the
Other PUPDIWD (23) condemnation (14) above fisted provisionally complex case
Non-PUPDAND (Other) Tort [_] wrongful eviction (33) types (41)
L¥_1 Business torvunfair business practice (07) [__] other rea! property (26) Enforcement of Judgment
|_} Civil rights (08) Untawful Detainer [J Entorcement of judgment (20)
|__| Defamation (13) {__] Commerciat (31) Miscellaneous Clvil Complaint
[_] Fraud (16) CJ Restdentiat (32) [—] rico @7)
[J intettectuat property (19) Cj Drugs (38) Other complaint (not specified above) (42)
LJ] Professional negligence (25) Judicial Review Miscellaneous Civil Petition
Co Other non-PHPD/WD tort (35) [_] Asset forfeiture (05) Partnership and corporate governance (21)
Employment [_] Petition re: arbitration award (11) [—] other petition (not specified above) (43)
Wrongful termination (36) (J watt of mandate (02)
{__} other emptoyment (15) [__] other judicial raview (39)

2. Thiscase L¥Jis L_Jisnot complex under rule 3.400 of the Callfornia Rules of Court. if the case is complex, mark the
factors requiring exceptional judicial management:

a.L_] Large number of separately represented parties d. Large number of witnesses
b. [_] Extensive motion practice raising difficult or novel. [__] Coordination with related actions pending tn one or more courts

issues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court
c. (4) Substantial amount of documentary evidence f. [-) substantial postjudgment judicial supervision

Remedies sought (check all that apply): a[[Y] monetary b.[7] nonmonetary; declaratory or injunctive relief —¢. [7 punitive
Number of causes of action (specify): Six (6)

This case is [_Jisnet aclass action suit.
. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.}

Date: August 17,2018
John P. Kristensen

OAD w

(TYPE OR PRINT NAME)

NOTI
« Plaintiff must file this cover sheet with the first paper filed in the aefion or proceeding (except small clams cases or cases filed

under ihe Probate Code, Family Code, or Welfare and Institutions Cede). (Cal. Rules of Court, rule 3.220.) Faflure to file may result
in sanctions.

* File this cover sheet in addition to any cover sheet required by local court rule.

* lf this case is complex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve a copy of this cover sheet on afl
other parties to the action or proceeding.

* Unless this Is a collections case under rute 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
. age 1 of

Form Adopted for Mandalay Use CIVIL CASE COVER SHEET Oa RGal Standards of Sate Adin, s-3 1
M-010 (Rev. July 1, 2007] www.courtinfo.ca.gov
w- Case 2:18-cv-09414-GW-SS Document1-1 Filed 11/05/18 Page 28 of 47 Page ID #:54

CM-010
INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET 1

To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 4. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete Items 1 through 6 on the sheet. tn item 7, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed In item 1,
check the more specific one. If tha case has multiple causes of action, check the box that best Indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed In a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the Cafifernia Rutes of Court.

To Parties In Rule 3.740 Collections Cases. A “collections case” under rule 3.740 Is defined as an action for recovery of money
owed In a sum stated to be certain that is not more than $25,000, exctusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case dogs not Include an action seeking the following: (1} tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management mules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case Is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be Indicated by
completing the appropriate boxes in items 1 and 2. if a plaintiff designates a case as comptex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that

the case is complex.

CASE TYPES AND EXAMPLES
Auto Tort Contract Provisionally Complex Civil Litigation (Cal.
Auto (22)-Personal Injury/Property Breach of Centract(Warranty (06) Rules of Court Rules 3.400-3,403)
Damage/Wrongful Death Breach at F Fe (not nie a Antitust/Trade F aca (03)
Uninsured Motorist (48) (# the 0 untawtu! detainer onstruction
case involves iC 8 ee or wrongful eviction) Claims Involving Mass Tort (40)
motorist claim subject to ContracvWarranty Breach-Seller Securitles Litigation (28)
arbitration, check this item Piaintlff (not fraud or negligence) EnvironmentalToxic Tort (30)
instead of Auto} Negligent Breach of Contract! near Coverage ceorey ,
iP farranty ing from provisionally complex
Property Danenawronetul tect) Other Breach of Contract(Warranty case type listed above) (41)
Tort Collections (e.g., money owed, open Enforcement of Judgment
Asbestos (04) book accounts) (09) Enforcement of Judgment (20)
Asbestos Property Damage Collection Case~Seiller Plaintiff Abstract of Judgment (Out of
Asbestos Personal Injury/ Other Promissory Note/Collections County)
Wrongful Death Case Confession of Judgment (non-
Product Liabiilty (not asbestos or Insurance Coverage (aot provisionally domestic relations)
toxic/environmental) (24) complex) (18) Sister State Judgment
Medica! Malpractice (45) Auto Subrogation Administrative Agency Award
Medical Matpractice— Other Coverage (not unpaid taxes)
Physicians & Surgeons Other Contract (37) Petitton/Certification of Entry of
Other Professional Health Care Contractual Fraud dudgment on Unpaid Taxes
Malpractice Other Contract Dispute Other Enforcement of Judgment
Other PUPDAWD (23) Real Property ase
Premises Liabifily (e.g., stip Eminent Domainvinverse Miscellaneous Civil Complaint
and fall Condemnation (14) RICO (27)
intentional Bodily injury/PDAND . Wrongful Eviction (33) othe oO (not specified
(e.g., assault, vandalism Other Real Pro 2.9., quiet title:
intentional Inillction of Wiit of posesvion ai Real pope Decier atery Rett Only
Emattsna! Distress Mortgage Foreclosure injunctive elle: nly (non-
Negligent infliction of Quiet Tits Mec ren
Emotional Distress Other Real Property (nct eminent
Other PUPDAWD domain, fandlondtenant, or Other Commercial Complaint
Nen-PI/PDIWD (Other) Tort foreclosure) . oth Case (non ton/non-complex)
Business TortUnfair Business Unlawful Detainer (nomtortinot~cam tex)
Practice (07) . Commercial (31) Misceltaneous Civil Petition
Civil Rights (e.g. discrimination, Residential (32) Partnership and Corporate
false arrest) (net civil Drugs (38) (if the case involves Hegal Govemance (21)
harassment) (08) drugs, check this item: otherwise, Other Petition (nt specified
Cefamation (e.g., slander, libel) report as Commercial or Residential) above) (43) *
(13) Judicial Review Civil Harassment
Fraud (16) Asset Forfelture (05) Workplace Viclence
Intellectual Property (19) Petition Re: Arbitration Award (11) Eider Dependent Adutt
Professional Negligence (25) Writ of Mandate (02) Abuse
Legal Malpractice Writ-Administrativa Mandamus Election Contest
Other Professional Malpractice Writ-Mandemus on Limited Court Petition for N Ch
(not medical or legal) Case Matter Patt on fo Rolie! ae '
Other Non-PUPDAWD Tort (35) Writ-Other Limited Court Casa mn oe
Employment Review Othe C P
Wrongful Termination (36) Other Judicial Review (38) T GW Petition
Other Employment (15) Review of Health Officer Order
Notice of Appeal-Labor

Commissioner Appeals

CM.-010 fRev, July 1, 2007}

CIVIL CASE COVER SHEET

Pago 20f2

‘Case 2:18-cv-09414-GW-SS Document1-1 Filed 11/05/18 Page 29 of 47 Page ID #:55

SHORT TITLE;

Friedman v. Michaels, et al. eee 717384 i

CIVIL CASE COVER SHEET ADDENDUM AND
STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

This form Is required pursuant to Local Rule 2.3 In all new civil case filings in the Los Angeles Superior Court.

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

Step 2: In Column 8B, check the box for the type of action that best describes the nature of the case.

Step 3: In Column C, circle the number which explains the reason for the court filing location you have

chosen.
| Applicable Reasons for Choosing Court Filing Location (Column C)
4. Class actions must be fited In the Stanley Mosk Courthouse, Central District. 7. Location where petitioner resides.
2. Pemnissive fillng in centrat district. 8, Location wherein defendanUrespondent functions wholly.
3. Location where cause of action arose. 9. Location where one or more of the partles reside.
4. Mandatory personal Injury fillng in North District, 10. Location of Labor Commissioner Office.

11. Mandatory filing location (Hub Cases — unlawful detainer, limited

5. Location where performance required or defendant resides. non-collaction, limited collection, or personal injury).

6. Locatian of property or permanently garaged vehicle.

A Soo to) 6B So, Cc
Civil Case Cover Sheet + Type of Action . Applicable Reasons -
Category No. (Check only one) See Step 3 Above
Auto (22) O A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death 1,4, 11
Seu
a ec Uninsured Motorist (46) © A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist | 4,4, 11
DO A6070 Asbestos Property Damage 1,44
Asbestos (04) 5
2e O A7221 Asbestos - Personal InjuryWrongful Death 1.11
ao o
= :
g s Product.Liabitity (24) © A7260 Product Wablility (not asbestes or toxic/environmental) 1,4,11
3
~—= @
Pa
= O A7210 Medical Malpractice - PI 1,4, 11
= 2 Medica! Malpractice (45) pe hysicians & Surgeons 14.41
3 5 O A?7240 Other Professional Health Care Maipraciice 4,
eG
os
25 O A7250 Premises Liability (e.g., slip and fail) 1.4.41
a Other Persona!
5 E Injury Property G A7230 intentional Bodily Injury/Property Damage/Wrongful Death (e-g., 1.4.11
= a Damage Wrongful assault, vandalism, etc.)
Death (23) ©) A7270 Intentional! Infliction of Emotional Distress 14,11
© A7220 Other Personal Injury/Property Damage/Wrongful Death 14,14
LACIV 109 (Rev 2/16) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3

LASC Approved 03-04 AND STATEMENT OF LOCATION Page 1 of 4

‘Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 300f 47 Page ID #:56

« :

SHORT TITLE: . CASE NUMBER
Friedman v. Michaels, et al.
Civil Case Cover Sheet sory he aypeofAeiion 0B sf Reasons ~ See Step 3
Category No, mvt _’. “(Check only one) Sr 2p Above
Business Tort (07) & A6020 Other CommercialBusiness Tort (not fraud/breach of contract) 126)
rE
ee Civil Rights (08) O A6C05 Civil Rights/Discrimination 1,2,3
2
> 3 Defamation (13) QO A6010 Defamation (slander/ibel) 1,2,3
33
=P Fraud (16) O A6013 Fraud (no contract) 1,2.3
gs
BS 0) AG017 Legal Malpractice 4,2,3
= Professional Negligence (25)
* 2 O A6050 Cther Professional Matpractice (not medical or legal) 1,2,3
og
za
Other (35)  A6025 Other Non-Personal Injury/Property Damage tort 1,2,3
2 Wrongful Termination (36) CG A6037 Wrongful Termination 1,2,3
5
E
S O A€024 Other Employment Complaint Case 1.2.3
2 Other Employment (15) Payment vamp
& © A6109 Labcr Commissioner Appeals 10
Pisce
O A6004 Greach of Rental/Lease Contract (not unlawful detainer or wrongful 25
eviction) ,
Bean eT TY | cy A6008 ContractwWarranty Breach -Seller Plaintit (no fraudinagligence) 2.6
{not Insurance) Cl A6019 Negiigent Breach of ContractWarranty (no fraud) 1.2.5
(1 A6028 Other Breach of ContractWarranty (not fraud or negligence) 125
3 © A6002 Collecttons Case-Seller Plaintiff 5,6, 11
£ Collections (69)
5 O A6012 Other Promissery Note/Collections Case 5,11
° O A6034 Collections Case-Purchased Debt (Charged Off Consumer Debi 5,6, 11
: Purchased on or after January 1, 2044)
’ Insurance Coverage (18) O A6015 insurance Coverage (not complex) 1,2, 5,8
O AS009 Contractual Fraud 1,2,3,5
Other Contract (37) 0 A8031 Tortious Interference 1,2,3,5
O As8027 Other Contract Dispute(not breach/insurance/fraud/negtigence) 1,2, 3,8,9
Eminent Domain/inverse .
Condemnation (14) CG A7300 Eminent Domain/Condemnation Number of parcels_____ 2,6
£
a Wrongful Eviction (33) 0 A023 Wrongful Eviction Case 2,68
a
3 O A6018 Mortgage Forectosure 2,6
o Other Real Property (26) | A6032 Quiet Tite 2,6
O A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure) | 2,6
. Untawtul — CO A6021 Unlawful Detatner-Commercial (not drugs or wrongful eviction) 611
o
cS
3 TENE Oe © A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction) 6,11
2 Unlawful Delainer-
= Post-Foreclosure (34) OQ A6020F Unlawful Detainer-Post-Foreciosure 2,6, 14
5 Untawtul Detainer-Drugs (38) | 0 AG022 Unlawful Detainer-Drugs 2,6, 11
LACIV 109 (Rev 2/16) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3

LASC Approved 03-04 AND STATEMENT OF LOCATION Page 2 of 4

‘Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 31o0f4/7 Page ID #:57

SHORT TITLE: CASE NUMBER
Friedman v. Michaels, et al.
A BS . C Appticable
Civil Case Cover Sheet Dl, 1 1. . Type of Action | Reasons - Ses Step 3
Category No. oy...” (Cheek only one) Above .
Asset Forfeiture (05) OD A6108 Asset Forfeiture Case 2,3,8
z Patition re Arbitration (11) D AS61185 Petition to Compel/Confirm/Vacate Arbitration 2,5
2
>
e O A6151 Writ- Administrative Mandamus 2,8
3 Writ of Mandate (02) CO} A6152 Writ- Mandamus on Limited Court Case Matter
3 © A8153 Writ- Other Limited Court Case Review
Other Judicial Review (39) O A61&0 Other Writ ‘Judicial Review 2.8
« Antitrust'Trade Regulation (03) | C] AsCO3 Antitrust/Trade Regulation 1,2,8
°
3 .
5 Censtruetion Defect (10) O} A6007 Construction Defect 1,2,3
3
3 Ciaims moar Mass Tor | goos Claims Involving Mass Tort 1,2,8
a
£
3 Securities Litigation (28) O A6035 Securities Litigation Case 1,2,8
2
3 Toxic Tort
. €&
s . Environmental (30) O A68036 Toxic TorvEnvironmental 1,2,3,8
>
& "fom Complen Coes tat) (3 A6014 Insurance Coverage/Subrogation (complex case onty) 1,2,5,8
C A6141 Sister State Judgment 2,5, 11
eu O A6160 Abstract of Judgment 2,6
E a Enforcement (1 A6107 Confession of Judgment (non-domestic relations) 2.9
oS
g 3 of Judgment (20) O A6140 Administrative Agency Award {not unpaid taxes) 2.8
3
& 3 0 .A6114 Petitior/Certificate for Entry of Judgment on Unpaid Tax 2,8
DO A6112 Other Enforcement of Judgment Case 2,8,9
RICO (27) O A6033 Racketeering (RICO) Case 1,2,8
gz
3 s O A6030 Dectaratory Retief Only 1,2,8
s
= E Other Complaints ( A6040 Injunctive Retief Only (not domestic/harassment) 2,8
B z (Not Specified Above) (42) 1] Ag011 Other Commercial Complaint Case (non-tortinon-complex) 1,28
=o {1 A8000 Other Civil Complaint (non-tortnon-complex) 12,8
a
Poona 0 AS113 Partnership and Corporate Govemance Case 2,8
O A6121 Civil Harassment 2.3.9
2 2 1 ASt23 Workplace Harassment 2,3,9
a
&
5 = Other Pettions (Not © A8124 Elder/Dependent Adult Abuse Case 2.3.9
8 = Specified Above) (43) 0 A8180 Election Contest 2
= 6 (GJ A6110 Petition for Change of Name/Change of Gender 2.7
O A8170 Petition for Relief from Late Claim Law 2,3,38
O A&8100 Other Chvil Patition 29
LACIV 109 (Rev 2/16) CIVIL CASE COVER SHEET ADDENDUM Locat Rule 2.3
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 3 of 4
“Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 32 of 47 Page ID #:58

.

SHORTTITLE: , CASE NUMBER
Friedman v. Michaels, et al.

Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the

type of action that you have selected. Enter the address which Is the basis for the filing location, Including zip code.
(No address required for class action cases).

ADDRESS:
9100 Wilshire Boulevard, Suite 520E
01.02.03.04.05.06.07.08.09.010.014, |Severly Hills, California 90212

REASON:

City: STATE: ZiP CODE:
Beverly Hills CA 90212
Step 5: Certification of Assignment: | certify that this case is properly filed in the Central District of

the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a}(1)(E}].

Dated: August 17, 2018

‘TURE OF ATTORNEYFILING PARTY)

PLEASE HAVE THE FOLLOWING !TEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

1. Original Complaint or Petition.

2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
3. Civil Case Cover Sheet, Judicial Council form CM-010.
4

Civil ease Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
02/16).

on

Payment in full of the filing fee, unless there fs court order for waiver, partial or scheduled payments.

6. Asigned order appointing the Guardian ad Litem, Judicial Council form CiV-010, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons.

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

LACIV 109 (Rev 2/16) CIVIL CASE COVER SHEET ADDENDUM Lecal Rule 2.3
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 4 of 4
- Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 33 of 47 Page ID #:59

Superior Court of California
County of Los Angeles

ALTERNATIVE DISPUTE RESOLUTION (ADR)
INFORMATION PACKET

The person who files a civil lawsuit (plaintiff) must include the ADR information
Packet with the complaint when serving the defendant. Cross-complainants must
serve the ADR Information Packet on any new parties named to the action
together with the cross-compilaint.

There are a number of ways to resolve civil disputes without having to sue -
someone. These alternatives to a lawsuit are known as alternative dispute
resolution (ADR).

In ADR, trained, impartial persons decide disputes or help parties decide disputes
themselves. These persons are called neutrals. For example, in mediations, the
neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
the court. Neutrals can help resolve disputes without having to go to court.

LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

: Case 2:18-cv-09414-GW-SS Document1-1 Filed 11/05/18 Page 34o0f47 Page ID #:60

5

Advantages of ADR

Often faster than going to trial

Often less expensive, saving the litigants court costs, attorney's fees and expert fees.

May permit more participation, allowing parties to have more control over the outcome.

Allows for flexibility in choice of ADR processes and resolution of the dispute.

Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
mutually agree to remedy.

There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
stress.

Disadvantages of ADR - ADR may not be suitable for every dispute.

If ADR is binding, the parties normally give up most court protections, including a decision by a judge or
jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
ADR may not be effective if it takes place before the parties have sufficient information to resolve the
dispute.

The neutral may charge a fee for his or her services.

If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
costs of trial, such as attorney's fees and expert fees.

The Most Common Types of ADR

Mediation

in mediation, a neutral (the mediator) assists the parties in reaching a mutually acceptable resolution
of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
decide how the dispute is to be resolved.

" Mediation is particularly effective when the parties have a continuing relationship, like
neighbors or business people. Mediation is also very effective whete personal feelings are
getting in the way of a resolution. This is because mediation normally gives the parties a chance
to express their feelings and find out how the other sees things.

=" Mediation may not be effective when one party is unwilling to cooperate or compromise or
when one of the parties has a significant advantage in power over the other. Therefore, it may
not be a good choice if the parties have a history of abuse or victimization.

LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

Page 2 of 4

> Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 35 of 47 Page ID #:61

e

Arbitration

In arbitration, a neutral person called an “arbitrator” hears arguments and evidence from each
side and then decides the outcome of the dispute. Arbitration is typically less formal than a
trial, and the rules of evidence may be relaxed. Arbitration may be either “binding” or “non-
binding.” Binding arbitration means the parties waive their right to a trial and agree to accept
the arbitrator’s decision as final. Non-binding arbitration means that the parties are free to
request a trial if they reject the arbitrator's decision.

Arbitration is best for cases where the parties want another person to decide the outcome of
their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
also be appropriate for complex matters where the parties want a decision-maker who has
training or experience in the subject matter of the dispute.

Mandatory Settlement Conference (MSC)

Settlement Conferences are appropriate in any case where settlement is an option.
Mandatory Settlement Conferences are ordered by the Court and are often held near the date
a case is set for trial. The parties and their attorneys meet with a judge who devotes his or her
time exclusively to preside over the MSC. The judge does not make a decision in the case but
assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
settlement.

The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
charge and staffed by experienced sitting civil judges who devote their time exclusively to
presiding over MSCs. The judges participating in the judicial MSC program and their locations
are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
at http://www.lacourt.org/. This program is available in general jurisdiction cases with
represented parties from independent calendar (IC) and Central Civil West (CCW) courtrooms.
In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
eve of trial by the personal injury master calendar courts in the Stanley Mosk Courthouse or the
asbestos calendar court in CCW.

In order to access the Los Angeles Superior Court MSC Program the judge in the IC courtrcom,
the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
the program. Further, all parties must complete the information requested in the Settlement
Conference Intake Form and email the completed form to mscdept18@lacourt.org.

LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

Page 3 of 4

- Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 36 of 47 Page ID #:62

Additional Information
To locate a dispute resolution program or neutral in your community:

e Contact the California Department of Consumer Affairs (www.dca.ca.gov) Consumer Information
Center toll free at 800-952-5210, or;
Contact the local bar association (http://www.lacba.org/) or;

e Look in a telephone directory or search online for “mediators; or “arbitrators.”

There may be a charge for services provided by private arbitrators and mediators.

“+

A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
http://calbar.ca.gov/Attorneys/MemberServices/FeeArbitration/ApprovedPrograms.aspx#19

To request information about, or assistance with, dispute resolution, call the number listed below. Or you may
call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is -
available at the link below.

http: css.lacounty.gov/programs/dispute-resolution-program-d

County of Los Angeles Dispute Resolution Program
3175 West 6th Street, Room 406
Los Angeles, CA 90020-1798
TEL: (213) 738-2621
FAX: (213) 386-3995

LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

Page 4 of 4

Superior Court of California
County of Los Angeles

Los Angeles County
Bar Association
Litigation Section

Los Angeles County

Bar Association Labor and
Employment Law Section

il

Consumer Attorneys
Association of Los Angeles

Southern California
Defense Counsel

CAOC HRC OF me Ne gay LTE

108 ANC

Association of
Business Trial Lawyers

California Employment
Lawyers Association

LACIV 230 (NEW)
LASC Approved 4-11
For Optional Use

» Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 37 of 47 Page ID #:63

VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

The Early Organizational Meeting Stipulation, Discovery
Resolution Stipulation, and Motions in Limine Stipulation are
voluntary stipulations entered into by the parties. The parties
may enter into one, two, or all three of the stipulations;
however, they may not alter the stipulations as written,
because the Court wants to ensure uniformity of application.
These stipulations are meant to encourage cooperation
between the parties and to assist in resolving issues in a
manner that promotes economic case resolution and judicial

efficiency.

The following organizations endorse the goal of

promoting efficiency in litigation and ask that counsel
consider using these stipulations as a voluntary way to
promote communications and procedures among counsel

and with the court to fairly resolve issues in their cases.

@Los Angeles County Bar Association Litigation Section?

@ Los Angeles County Bar Association
Labor and Employment Law Section®

Consumer Attorneys Association of Los Angeles @

@ Southern California Defense Counsel@

Association of Business Trial Lawyers @

California Employment Lawyers Association@
* Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 38 of 47 Page ID #:64

NAME AND ADDRESS OF ATTORNEY GR PARTY WATHOUT ATTORNEY: STATE BAR NUMBER Reserved for Clerk's Fle Stemp
TELEPHONE NO.: FAX NO. (Qptions!):
E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Nama):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
| PLAINTIFF:
| DEFENDANT:
CASE NUMBER:
STIPULATION — EARLY ORGANIZATIONAL MEETING

This stipulation is intended to encourage cooperation among the parties at an early stage in
the litigation and to assist the parties in efficient case resolution.

The parties agree that:

1. The parties commit to conduct an initial conference (in-person or via teleconference or via
videoconference) within 15 days from the date this stipulation is signed, fo discuss and consider
whether there can be agreement on the following:

a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
amendment as of right, or if the Court would allow leave to amend, could an amended
complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
agree to work through pleading issues so that a demurrer need only raise issues they cannot
resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
would some other type of motion be preferable? Could a voluntary targeted exchange of
documents or information by any party cure an uncertainty in the pleadings?

b. Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
employment case, the employment records, personnel file and documents relating to the
conduct in question could be considered “core.” in a personal injury case, an incident or
police report, medical records, and repair or maintenance records could be considered
“core.”);

c. Exchange of names and contact information of witnesses;

d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
indemnify or reimburse for payments made to satisfy a judgment;

e. Exchange of any other information that might be helpful to facilitate understanding, handling,
or resolution of the case in a manner that preserves objections or privileges by agreement;

f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
phases of the case. Also, when and how such issues can be presented to the Court;

g. Whether or when the case should be scheduled with a settlement officer, what discovery or
court ruling on legal issues is reasonably required to make settlement discussions meaningful,
and whether the parties wish to use a sitting judge or a private mediator or other options as

LACIV 229 (Rev 02/15)

LASC Approved 0411 - STIPULATION — EARLY ORGANIZATIONAL MEETING
For Optional Use Page 1 of 2

' Case 2:18-cv-09414-GW-SS Document1-1 Filed 11/05/18 Page 390f47 Page ID #:65

SHORT TITLE: . CASE NUMBER:

discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
complaint;

h. Computation of damages, including documents, not privileged or protected from disclosure, on
which such computation is based;

i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
www.lacourt.org under “Civil and then under “General Information’).

2. The time for a defending party to respond to a complaint or cross-complaint will be extended

to _ _ for the complaint, and for the cross-
(INSERT DATE) (INSERT DATE)

complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
and the 30 days permitted by Code of Civil Procedure section 1054{a), good cause having
been found by the Civil Supervising Judge due to the case management benefits provided by
this Stipulation. A copy of the General Order can be found at www.lacourt.org under “Civil",
click on “General Information”, then click on “Voluntary Efficient Litigation Stipulations”.

3. The parties will prepare a joint report titled “Jcint Status Report Pursuant to Initial Conference
and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
results of their meet and confer and advising the Court of any way it may assist the parties’
efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
the Case Management Conference statement, and file the documents when the CMC
Statement is due.

4. References to “days” mean calendar days, unless otherwise noted. If the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day

The following parties stipulate:

Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR PLAINTIFF)
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
>
(TYPE OR PRINT NAME) _ (ATTORNEY FOR DEFENDANT)
Date: >
(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR )
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR )
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR )

TASC Anprnea c2'5) STIPULATION — EARLY ORGANIZATIONAL MEETING Page 2 of 2
* Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 40 of 47 Page ID #:66

NAME ANO ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR NUMBER Resecved for Clerk's Fie Stamp

TELEPHONE NO.: FAX NO. (Optional):
E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

COURTHOUSE ADDRESS:

- PLAINTIFF:

DEFENDANT:

CASE NUMBER:

STIPULATION — DISCOVERY RESOLUTION

This stipulation is intended to provide a fast and informal resolution of discovery issues
through limited paperwork and an informal conference with the Court to aid in the
resolution of the issues.

The parties agree that:

1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
the moving party first makes a written request for an Informal Discovery Conference pursuant
to the terms of this stipulation.

2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
and determine whether it can be resolved informally. Nothing set forth herein will preclude a
party from making a record at the conclusion of an Informal Discovery Conference, either
orally or in writing.

3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
presented, a party may request an Informal Discovery Conference pursuant to the following
procedures:

a. The party requesting the Informal Discovery Conference will:

i. File a Request for informal Discovery Conference with the clerk's office on the
approved form (copy attached) and deliver a courtesy, conformed copy to the
assigned department;

ii. Include a brief summary of the dispute and specify the relief requested; and

iii. | Serve the opposing party pursuant to any authorized or agreed method of service
that ensures that the opposing party receives the Request for Informal Discovery
Conference no later than the next court day following the filing.

b. Any Answer to a Request for Informal Discovery Conference must:
i. Also be filed on the approved form (copy attached);
li. Include a brief summary of why the requested relief should be denied:

LACIV 036 (new)

LASC Approved 04/11 STIPULATION - DISCOVERY RESOLUTION
For Optional Use Page 1 of 3

* Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 41 0f 47 Page ID #:67

SHORT THLE: ‘ CASE NUMBER:

iii. Be filed within two (2) court days of receipt of the Request; and

iv. Be served on the opposing party pursuant to any authorized or agreed upon
method of service that ensures that the opposing party receives the Answer no
later than the next court day following the filing.

c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
be accepted.

d. If the Court has not granted or denied the Request for Informal Discovery Conference
within ten (10) days following the filing of the Request, then it shall be deemed to have
been denied. if the Court acts on the Request, the parties will be notified whether the
Request for Informal Discovery Conference has been granted or denied and, if granted,

‘ the date and time of the Informal Discovery Conference, which must be within twenty (20)
days of the filing of the Request for Informal Discovery Conference.

e. If the conference is not held within twenty (20) days of the filing of the Request for
Informal Discovery Conference, unless extended by agreement of the parties and the
Court, then the Request for the Informal Discovery Conference shall be deemed to have
been denied at that time.

4. \f (a) the Court has denied a conference or (b) one of the time deadlines above has expired
without the Court having acted or (c) the Informal Discovery Conference is concluded without
resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
discovery motion is tolled from the date of filing of the Request for Informal Discovery
Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
filing of the Request for informal Discovery Conference, whichever is earlier, unless extended
by Order of the Court.

It is the understanding and intent of the parties that this stipulation shall, for each discovery
dispute to which it applies, constitute a writing memorializing a “specific later date to which
the propounding [or demanding or requesting] party and the responding party have agreed in
writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
terminate the stipulation.

8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day.

LACIV 036 (new)

LASC Approved 04/11 STIPULATION — DISCOVERY RESOLUTION |
For Optional Use Page 2 of 3

* Case 2:18-cv-09414-GW-SS Document 1-1

Filed 11/05/18 Page 42 of 47 Page ID #:68

SHORT THLE: CASE NUMBER:
The following parties stipulate:
Date:
>
(TYPE ORPRINT NAME) OSOSO~S~S (ATTORNEY FOR PLAINTIFF)
Date:
>
(TYPEORPRINTNAME) (ATTORNEY FOR DEFENDANT)
Date:
>
(TYPE OR PRINT NAME} (ATTORNEY FOR DEFENDANT)
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
>
(TYPE OR PRINT NAME} {ATTORNEY FOR )
Date:
>
(TYPEORPRINTNAME) ——~C~S {ATTORNEY FOR )
Date:
>
(TYPE ORPRINT NAME) ———OSOSOS~S {ATTORNEY FOR y
LACIV 036 (new)
LASC Approved 04/11 STIPULATION — DISCOVERY RESOLUTION
For Optional Usa

Page 3 of 3 |
Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 43 of 47 Page ID #:69

NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR NUMBER Rewarvad for Clsk's Fie Stamp

TELEPHONE NO.: FAX NO. (Optional):
E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

COURTHOUSE ADDRESS:

-RLAINTIFR:

DEFENDANT:

CASE NUMBER:

INFORMAL DISCOVERY CONFERENCE

(pursuant to the Discovery Resolution Stipulation of the parties)

1. This document relates to:

C] Request for Informal Discovery Conference
C] Answer to Request for Informal Discovery Conference

2. Deadline for Court to decide on Request: (insert date 10 calendar days fallowing filing of
the Request).

3. Deadline for Court to hold Informal Discovery Conference: (insert date 20 calendar
days following filing of the Request).

4, For a Request for Informal Discovery Conference, briefly describe the nature of the
discovery dispute, including the facts and legal arguments at issue. For an Answer to
Request for Informal Discovery Conference, briefly describe why the Court should deny
the requested discovery, including the facts and legal arguments at issue.

poe etme ee tric

LACIV 094 (new) INFORMAL DISCOVERY CONFERENCE

LASC ved 04/11
For Optena Use (pursuant to the Discovery Resolution Stipulation of the parties)

* Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 44 of 47 Page ID #:70

NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR NUMBER Reserved for Clerk's File Stamp

TELEPHONE NO.: FAX NO. (Opiional):
E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:

CASE NUMBER:

STIPULATION AND ORDER — MOTIONS IN LIMINE

This stipulation is intended to provide fast and informal resolution of evidentiary
issues through diligent efforts to define and discuss such issues and limit paperwork.

The parties agree that:

1. At least days before the final status conference, each party will provide all other
parties with a list containing a one paragraph explanation of each proposed motion in
limine. Each one paragraph explanation must identify the substance of a single proposed
motion in limine and the grounds for the proposed motion.

2. The parties thereafter will meet and confer, either in person or via teleconference or
videoconference, concerning all proposed motions in limine. In that meet and confer, the
parties will determine:

a. Whether the parties can stipulate to any of the proposed motions. If the parties so
stipulate, they may file a stipulation and proposed order with the Court.

b. Whether any of the proposed motions can be briefed and submitted by means of a
short joint statement of issues. For each motion which can be addressed by a short
joint statement of issues, a short joint statement of issues must be filed with the Court
10 days prior to the final status conference. Each side's portion of the short joint
statement of issues may not exceed three pages. The parties will meet and confer to
agree on a date and manner for exchanging the parties’ respective portions of the
short joint statement of issues and the process for filing the short joint statement of
issues.

3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
a short joint statement of issues will be briefed and filed in accordance with the California
Rules of Court and the Los Angeles Superior Court Rules.

LACIV 075 (new)

LASC Approved 04/11 STIPULATION AND ORDER — MOTIONS IN LIMINE
For Optional Use Page 1 of 2

t

Case 2:18-cv-09414-GW-SS Document 1-1

Filed 11/05/18 Page 45 of47 Page ID#:71

SHORT TULE: CASE NUMBER:
The following parties stipulate:
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR PLAINTIFF)
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
. >
(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date: .
>
(TYPE OR PRINT NAME) (ATTORNEY FOR )
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR )
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR )
THE COURT SO ORDERS.
Date:
JUDICIAL OFFICER
CASO Aenean STIPULATION AND ORDER - MOTIONS IN LIMINE Page 2 of2

* Case 2:18-cv-09414-GW-SS Document 1-1 Filed 11/05/18 Page 46 of 47 Page ID #:72

>.

Rasarvad for Clarks File Stam
SUPERIOR COURT OF CALIFORNIA _
+ COUNTY OF LOS ANGELES CONFORMED Copy
HsouRTHOUSE ABORESS: Superior Comtol Ooi ommia
111 North Hill Street, Los Angeles, CA 90012 Crninteat ban tanning
AUG 20 2018
NOTICE OF CASE ASSIGNMENT Sten R. Carter, Executive Uftreer/Clerk of Coun
By: Brittny Smith, De;
UNLIMITED CIVIL — CLASS ACTION/COMPLEX puty
aEERG TL SS t
Your case is assigned for all purposes to the judicial officer indicated below.
THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
ASSIGNED JUDGE DEPT | ROOM $ [:2: ASSIGNED JUDGE DEPT | ROOM
Kh Hon. Elihu M. Berle 6 2u1
Hon. William F. Highberger 10 10
Hon. John Shepard Wiley, Jr. 9 9
Hon. Kenneth Freeman 14 14
Hon. Ann Jones 11 Jt
Hon. Maren E. Nelson 17 7
Hon. Carolyn B. Kuhl 12 12 4
Hon. Brian §. Currey 15 15
*Provisional complex (non-class Supervising
action) case assignment pending 14 Judge
complex determination 14
Given to the Plaintiff/Cross-Complainant/Attomey of Record SHERRI R. CARTER, Executive Officer/Clerk of Court

on aml? 0 By Pailin y Sah , Deputy Clerk
LACIV 190 (Re ) TICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE

LASC Approved 05/06

“ Case 2:18-cv-09414-GW-SS Document1-1 Filed 11/05/18 Page 47 of 47 Page ID #:73

' g

INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

'

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes to
a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-complaints
shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the

complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, trial
date, and expert witnesses.

FINAL STATUS CONFERENCE

The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All parties
shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested form jury
instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These matters may be
heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged lists of exhibits
and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required by Chapter Three
of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court,

and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party, or if
appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions

Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex

judge at the designated complex courthouse. Ifthe case is found not to be a class action it will be returned to an Independent Calendar
Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of complex
status. Ifthe case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be randomly assigned

to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be returned to an Independent
Calendar Courtroom for all purposes.

LACIV 190 (Rev 12/17) NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/08

